Case 2:08-cr-02095-EFS   ECF No. 230   filed 08/27/09   PageID.892 Page 1 of 6
Case 2:08-cr-02095-EFS   ECF No. 230   filed 08/27/09   PageID.893 Page 2 of 6
Case 2:08-cr-02095-EFS   ECF No. 230   filed 08/27/09   PageID.894 Page 3 of 6
Case 2:08-cr-02095-EFS   ECF No. 230   filed 08/27/09   PageID.895 Page 4 of 6
Case 2:08-cr-02095-EFS   ECF No. 230   filed 08/27/09   PageID.896 Page 5 of 6
Case 2:08-cr-02095-EFS   ECF No. 230   filed 08/27/09   PageID.897 Page 6 of 6
